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DAF/CLO Holdco
                                                                                     Greater Kansas City                                                         The Community
Structure Chart                                          The Dallas
                                                                                        Community
                                                                                                                               Santa Barbara
                                                                                                                                                               Foundation of North
                                                        Foundation                                                              Foundation
                                                                                        Foundation                                                                Texas (CFNT)
                                                        (Third Party)                                                           (Third Party)
                                                                                        (Third Party)                                                              (Third Party)
                                                                100%                              100%                                    100%                               100%

                                                       Highland Dallas               Highland Kansas City                  Highland Santa Barbara               HCMLP Charitable
                        Grant Scott
                                                       Foundation, Inc.                Foundation, Inc.                       Foundation, Inc.                        Fund
                     (Managing Member)                   (Supporting                     (Supporting                             (Supporting                     (Donor advised
                       Control Person                   Organization)                   Organization)                           Organization)                       account)

                                        100%                     32.787%                          32.787%                                 32.787%                            1.639%
                   100%           Management                     Participation                    Participation                           Participation                      Participation
                                       Shares                    Shares                           Shares                                  Shares                             Shares



                  Charitable DAF GP, LLC                                                          Charitable DAF HoldCo, Ltd.
                          (Delaware)                                                                       (Cayman Islands)

                                            1% GP                                                                 99% LP

                                                                     Charitable DAF Fund, L.P.
                                                                               (Cayman Islands)

                                                                                                   100%

                                                                                  CLO HoldCo, Ltd.
                                                                                      (Cayman Islands)

                       >5%                      >5%                     100%                       100%                            100%                               100%

                                                                                           HCT Holdco                      MGM Studios
                  Various                Highland                                                                                                          Liberty CLO Holdco,
                                                              CAF Stone Oak                  2, Ltd.                       Holdco, Ltd.
                  Highland             Institutional           Village, LLC                                                                                        Ltd.
                                                                                             (Cayman                          (Cayman
                    CLOs                  Funds                                               Islands)                         Islands)
                                                                                                                                                             (Cayman Islands)

                                                                                                                                                 100%          100%                  >5%


                                                                                                                                    Liberty Sub,                 NCI RE                  NREA DST
                                                                                                                                        Ltd.                   Properties                 Entities
                                                                                                                                  (Cayman Islands)               (Texas)                     (DE)




                                                                                                                                                                      EXHIBIT 8
